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EXHIBIT 21
2:17-cv-00194-kjd Document 140-23

EXHIBIT,
From: Katherine A. Pizzuti [Katherine.A.Pizzuti@hitchcock.org] : Cynthl
Sent: 9/28/2017 10:18:25 AM lemmas AER LCR
To: Heather L. Gunnell [Heather,L.Gunnell@hitchcock.org]
cc: Elisabeth D, Erekson [Elisabeth.D.Erekson@hitchcock.org]
Subject: RE: Business Plan for REI
Hi Heather,

That's wonderful news, Thank you for getting back to me so quickly.

Best,
Katherine

Katherine A. Pizzuti

Marketing Manager, Communications and Marketing
Katherine.A. Pizzuti@hitchcock.org
dartmouth-hitchcock.org

phone: 603.853.1942 | fax: 603.653.1906

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w& CULTURE GOP CA
From: Heather L. Gunnell
Sent: Thursday, September 28, 2017 10:15 AM
To: Katherine A, Pizzuti <Katherine.A.Pizzuti@hitchcock.org>
Ce: Elisabeth D. Erekson <Elisabeth.D.Erekson@hitchcock.org>

Subject: RE: Business Plan for REI

Hi Katherine,

Ed, Maria, Joanne Conroy and Daniel Herrick are all aware, and supportive of the fact that we are pulting
together a business plan proposal to restart the program,

Thanks,

Heather

Heather L. Gunnell

Practice Manager, OB/GYN

heather |_gqunnell@hitchcock.org

phone 603.653.9272 | fax 603.650.0806

From: Katherine A. Pizzuti

Sent: Thursday, September 28, 2017 9:36 AM

To: Heather L. Gunnell <Heather.L. Gunnell @hitchcock.org>
Subject: Business Plan for REI

Importance: High

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Hi Heather,

During my meeting with Victoria yesterday | informed her that you and Liz were working on a comprehensive business
plan for a new REI program. Of course she expressed the same concerns that | did in regards to the sensitivities of the
closure within our local community. She asked if Maria and Ed were aware that you were working on a business plan and
i told her | wasn’t sure, Can you please let me know? She plans on sharing this news with our VP and Director of External
Relations (PR), but wants to be sure of who knows this news before she does so.

Thanks,
Katherine

Katherine A. Pizzuti

Marketing Manager, Communications and Marketing
Katherine.A. Pizzuti@hitchcock.org
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phone: 603.653.1942 | fax: 603.653.1906

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